           Case 2:21-cv-01537-SKV Document 1-1 Filed 11/12/21 Page 1 of 6



 1
                                               FILED
 2                                  2021 OCT 15 12:02 PM
                                        KING COUNTY
3                                  SUPERIOR COURT CLERK
                                           E-FILED
4                                  CASE #: 21-2-13757-8 SEA

5

6

7
                  SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
8

9     CARLA RUTH TOBY, Personal
      Representative for the Estate of GRETA               NO.
10    CRESWELL,
                                                           COMPLAINT FOR WRONGFUL
11                                            Plaintiff,   DEATH AND SURVIVAL
                                                           ACTION
12    v.
13    SAFEWAY, INC., a foreign corporation;
14
                                         Defendant.
15

16          COMES NOW the plaintiff, Carla Ruth Toby, Personal Representative for the

17   Estate of Greta Creswell, by and through her attorney, and hereby pleads and

18   alleges as follows:
19

20                                       I.      PARTIES

21          1.1    Prior to this incident, Leopold Gabay and Greta Creswell were

22   husband and wife and were residents of King County, Washington.

23          1.2    Because of this incident, Plaintiff Carla Ruth Toby, was appointed the
24   Personal Representative of Greta Creswell’s Estate under King County Superior
25
     Court Cause No. 19-4-17934-9 SEA. Plaintiff Carla Ruth Toby is maintaining this
26


      COMPLAINT FOR WRONGFUL DEATH - 1                                     COLBURN LAW
                                                                      22500 SE 64TH PLACE, SUITE 200
                                                                            ISSAQUAH, WA 98027
                                                                 TEL: (206) 919-3215 FAX: (888) 850-2909
          Case 2:21-cv-01537-SKV Document 1-1 Filed 11/12/21 Page 2 of 6



     action in a representative capacity for the benefit of the Estate of Greta Creswell, as
 1
     well as on her own behalf.
 2

3           1.3    Defendant Safeway, Inc., (hereinafter referred to “Safeway”) is a

4    foreign for-profit corporation conducting business in the State of Washington,

5    including King County. Safeway owns and operates grocery stores in and

6    throughout King County. At all times relevant to this case, Safeway owned, leased,
7    and/or operated commercial property open to members of the public, namely
8
     Safeway Store #1528 located at 460 SW Mt Si Blvd, North Bend, Washington.
9

10                                II.   JURISDICTION & VENUE

11          2.1    Jurisdiction is proper in this Court because the tortious acts and
12   injuries occurred within the State of Washington. Venue is proper in this Court
13
     because Defendant Safeway transacts business in King County and the tortious
14
     acts and injuries occurred in King County.
15

16                                       III.   LIABILITY
17          3.1    Plaintiff re-alleges the paragraphs set forth above and below.
18
            3.2    On October 26, 2018, Safeway located at 460 SW MT Si Blvd, City of
19
     North Bend, King County, State of Washington, was open for business. It invited
20
     members of the public to come into its building.
21
            3.3    On October 26, 2018, Leopold Gabay and Greta Creswell entered the
22
     Safeway located at 460 SW MT Si Blvd, City of North Bend, King County, State of
23

24   Washington.

25          3.4    Leopold Gabay and Greta Creswell were at Safeway to purchase

26   groceries and other goods.


      COMPLAINT FOR WRONGFUL DEATH - 2                                  COLBURN LAW
                                                                   22500 SE 64TH PLACE, SUITE 200
                                                                         ISSAQUAH, WA 98027
                                                              TEL: (206) 919-3215 FAX: (888) 850-2909
          Case 2:21-cv-01537-SKV Document 1-1 Filed 11/12/21 Page 3 of 6



            3.5     While waiting in the checkout line, Leopold Gabay mentioned to his
 1
     wife, Greta Creswell, that she should buy a LOTTO ticket to celebrate their
 2

3    anniversary.

4           3.6     As Greta Creswell walked to purchase the LOTTO ticket, she slipped,

5    fell backwards, and landed hard on the floor hitting her head.

6           3.7     Upon information and belief, Greta Creswell slipped on a liquid
7    slippery substance on the floor.
8
            3.8     Upon information and belief, a liquid slippery substance caused Greta
9
     Creswell to slip and to fall to the floor.
10
            3.9     Defendant Safeway was in control of the area where the liquid
11
     slippery substance accumulated.
12
            3.10    Defendant Safeway was responsible for the condition of the floor
13

14   where the liquid slippery substance accumulated.

15          3.11    Defendant Safeway was responsible for the maintenance of the floor

16   where the liquid slippery substance accumulated.
17          3.12    Defendant Safeway knew, or reasonably should have known, of the
18
     liquid slippery substance that had accumulated on the floor. Despite that fact, the
19
     liquid slippery substance was allowed to accumulate and remain as a danger to
20
     invitees, including Greta Creswell.
21
            3.13    Defendant Safeway’s operating methods created the potential for
22
     hazards that created an unreasonable risk of harm to invitees, including Greta
23

24   Creswell.

25

26


      COMPLAINT FOR WRONGFUL DEATH - 3                                 COLBURN LAW
                                                                  22500 SE 64TH PLACE, SUITE 200
                                                                        ISSAQUAH, WA 98027
                                                             TEL: (206) 919-3215 FAX: (888) 850-2909
          Case 2:21-cv-01537-SKV Document 1-1 Filed 11/12/21 Page 4 of 6



               3.14   Defendant Safeway failed to carry out inspections of the floors
 1
     frequently enough to discover the dangers from liquid slippery substances and
 2

3    reasonably protect invitees, including Greta Creswell, from injuries.

4              3.15   Defendant Safeway failed to carry out cleaning operations of the floors

5    frequently enough to remove liquid slippery substances on the floors and

6    reasonably protect invitees, including Greta Creswell, from injuries.
7              3.16   Defendant Safeway should expect that its invitees would not discover
8
     or realize the existence of liquid slippery substances on the floors and would fail
9
     and/or be unable to protect themselves from the dangers of such substances on the
10
     floors.
11
               3.17   Defendant Safeway failed to exercise ordinary care to protect invitees,
12
     including Greta Creswell, against the dangers of liquid slippery substances on the
13

14   floors.

15             3.18   The tortious conduct, including the negligence, of Defendant Safeway

16   was a proximate cause of the fall suffered by Greta Creswell described above and
17   her resulting injuries and damages, including her death on January 28, 2019.
18

19                                        IV.   DAMAGES

20             4.1    Plaintiff re-alleges the paragraphs set forth above and below.

21             4.2    As a direct and proximate result of the tortious conduct of Defendant

22   Safeway as alleged in this complaint, Greta Creswell and her Estate suffered
23
     economic and non-economic damages, including but not limited to medical
24
     expenses, funeral and burial expenses, pre-death pain and suffering, anxiety,
25
     emotional distress, and loss of enjoyment of life, in amounts to be proven at trial,
26


      COMPLAINT FOR WRONGFUL DEATH - 4                                    COLBURN LAW
                                                                     22500 SE 64TH PLACE, SUITE 200
                                                                           ISSAQUAH, WA 98027
                                                                TEL: (206) 919-3215 FAX: (888) 850-2909
          Case 2:21-cv-01537-SKV Document 1-1 Filed 11/12/21 Page 5 of 6



     including all damages as provided under Washington State Wrongful Death and
 1
     Survival Statutes.
 2

3           4.3    As a direct and proximate result of Defendant Safeway’s tortious

4    conduct herein, Greta Creswell sustained serious and ultimately fatal injuries.

5           4.4    As a direct and proximate result of the tortious conduct of Defendant

6    Safeway as alleged in this complaint, Leopold Gabay, the surviving husband of
7    Greta Creswell, suffered damages in an amount to be proven at trial, including the
8
     destruction of the husband/wife relationship and all damages as provided under
9
     Washington State Wrongful Death and Survival Statutes.
10
            4.5    As a direct and proximate result of the tortious conduct of Defendant
11
     Safeway as alleged in this complaint, Carla Ruth Toby, the surviving daughter of
12
     Greta Creswell, suffered damages in an amount to be proven at trial, including the
13

14   destruction of the parent/child relationship and all damages as provided under

15   Washington State Wrongful Death and Survival Statutes.

16          4.6    Plaintiff’s damages were not caused by any fault on the part of Greta
17   Creswell, but were caused solely by the tortious conduct of Defendant Safeway.
18
            4.7    No other individuals or entities caused Plaintiff’s injuries and
19
     damages.
20

21                                 V.     PRAYER FOR RELIEF

22          WHEREFORE, Plaintiff prays for judgment against Defendant Safeway,
23
     jointly and severally, as follows:
24
            1.     For a judgment of liability in favor of Plaintiff and against Defendant
25
     Safeway;
26


      COMPLAINT FOR WRONGFUL DEATH - 5                                   COLBURN LAW
                                                                    22500 SE 64TH PLACE, SUITE 200
                                                                          ISSAQUAH, WA 98027
                                                               TEL: (206) 919-3215 FAX: (888) 850-2909
          Case 2:21-cv-01537-SKV Document 1-1 Filed 11/12/21 Page 6 of 6



            2.      For an award of damages in favor of Plaintiff and against Defendant
 1
     Safeway in an amount to be proven at the time of trial;
 2

3           3.      For prejudgment interest at the statutory rate on economic damages

4    incurred by Plaintiff;

5           4.      For Plaintiff’s costs and disbursements herein and a reasonable

6    attorney’s fee;
7           5.      For such further relief as to the Court seems just.
8
            DATED this 15th day of October, 2021.
9
                                                S/ GREGORY S. COLBURN
10                                              Gregory S. Colburn, WSBA #41236
                                                Colburn Law
11                                              22500 SE 64th Place, Suite 200
                                                Issaquah, WA 98027
12                                              Tel: (206) 919-3215
13                                              Fax: (888) 850-2909
                                                Email: greg@colburnlaw.com
14                                              Attorney for Plaintiff

15

16

17

18

19

20

21

22

23

24

25

26


      COMPLAINT FOR WRONGFUL DEATH - 6                                    COLBURN LAW
                                                                    22500 SE 64TH PLACE, SUITE 200
                                                                          ISSAQUAH, WA 98027
                                                               TEL: (206) 919-3215 FAX: (888) 850-2909
